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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK



 NATIONAL SHOOTING SPORTS
 FOUNDATION, INC., BERETTA U.S.A.                      Case No.: 1:21–cv–1348 (MAD/CFH)
 CORP., DAVIDSON’S, INC., GLOCK,
 INC., CENTRAL TEXAS GUN WORKS,
 HORNADY MANUFACTURING
 COMPANY, LIPSEY’S, LLC, OSAGE
 COUNTY GUNS LLC, RSR GROUP, INC.,
 SHEDHORN SPORTS, INC., SIG SAUER,
 INC., SMITH & WESSON INC., SPORTS
 SOUTH LLC, SPRAGUE’S SPORTS INC.
 and STURM, RUGER & COMPANY, INC.,
                              Plaintiffs,
               v.


 LETITIA JAMES, in her official capacity as
 New York Attorney General,


                              Defendant.




                                    NOTICE OF APPEAL

       All plaintiffs appeal to the United States Court of Appeals for the Second Circuit from the

final judgment entered on May 25, 2022 (Dkt. No. 47) and from the Memorandum-Decision and

Order entered on May 25, 2022 (Dkt. No. 46).
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Dated: June 24, 2022                  Respectfully submitted,
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